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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

SVITLANA DOE, et al.,

                            Plaintiffs,

      – versus –                                      Civil Action No.: 1:25-cv-10495-IT
KRISTI NOEM, in her official capacity as Secretary
of Homeland Security, et al.,

                            Defendants.

INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR
PRELIMINARY INJUNCTION AND STAY OF DHS’S EN MASSE TRUNCATION OF
                ALL VALID GRANTS OF CHNV PAROLE

         #                                Description

              Termination of Parole Processes for Cubans, Haitians, Nicaraguans, &
         1
                       Venezuelans, 90 Fed. Reg. 13611 (Mar. 25, 2025)

         2         Declaration of Plaintiff Norma Lorena Dus (CHNV sponsor)

               Declaration of Guerline Jozef on behalf of Plaintiff Haitian Bridge
         3
                                           Alliance
